23 F.3d 403NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Jasper A. SAYRE, Petitioner,v.DIRECTOR, Officer of Workers' Compensation Programs, UnitedStates Department of Labor, Respondent.
    No. 93-2380.
    United States Court of Appeals, Fourth Circuit.
    Submitted April 21, 1994.Decided May 5, 1994.
    
      On Petition for Review of an Order of the Benefits Review Board.  (92-1266-BLA).
      Jasper A. Sayre, petitioner pro se.
      Marta Kusic, Staff Atty., Helen Hart Cox, U.S. Dept. of Labor, Washington, DC, for respondent.
      Ben.Rev.Bd.
      DISMISSED.
      Before ERVIN, Chief Judge, MICHAEL, Circuit Judge, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Jasper Sayre petitions for review of a Benefits Review Board (Board) decision affirming in part, vacating in part, and remanding for further consideration the administrative law judge's (ALJ) decision denying his claim for black lung benefits.  The Director, Office of Workers' Compensation Programs (Director), has filed a motion to dismiss this appeal on the ground that the Board's decision is not a final order.  For the reasons which follow, we grant the Director's motion and dismiss this appeal.
    
    
      2
      Under 28 U.S.C. Sec. 1291 (1988), this Court has jurisdiction over appeals from final orders.  Similarly, the Longshoreman's and Harbor Workers' Compensation Act permits this Court to review "final" orders of the Board.  33 U.S.C. Sec. 921(c) (1986).  We have held that Sec. 1291 and Sec. 921(c) encompass the same concepts of finality.   See Eggers v. Clinchfield Coal Co., 11 F.3d 35, 38 (4th Cir.1993).  Thus, under this analysis, we have agreed with the numerous courts which have held that an order of the Board affirming in part and remanding in part to the ALJ "does not constitute a final order for the purposes of reviewability under Sec. 921."   Id. at 38.
    
    
      3
      Finding no basis for appellate jurisdiction, we dismiss this appeal as interlocutory.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      4
      DISMISSED.
    
    